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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



  FORD OF SLIDELL, LLC et al                                    CIVIL ACTION


  VERSUS                                                        NO: 21-858


  STARR SURPLUS LINES INSURANCE CO.                             SECTION: “G”



                                       JUDGMENT

       Pursuant to the Court’s Order1 granting Defendant’s Motion to Dismiss,2

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that there be judgment in

favor of the Defendant, Starr Surplus Lines Insurance Co., and against the Plaintiffs, Ford of

Slidell, LLC, Nissan of Slidell, LLC, Supreme Automotive Group, LLC, Supreme Chevrolet, LLC,

Supreme Domestics, LLC, Supreme Imports, LLC, and Kramor of Plaquemine, LLC.

       NEW ORLEANS, LOUISIANA, this 18th day of November, 2021.




                                                  __________________________________
                                                  NANNETTE JOLIVETTE BROWN
                                                  CHIEF JUDGE
                                                  UNITED STATES DISTRICT COURT




       1   Rec. Doc. 23.
       2   Rec. Doc. 13.
